Case 2:Ol-cv-02028-BBD-dkv Document 174 Filed 05/18/05 Page 1 0f3 Pag |D 185

 

 

 

 

IN THE UNITED STATES DISTRICT COURT HU£D LM
WESTERN DISTRICT OF TENNESSEE ¢_- * 1 _ _
WESTERN DIVISION U~" mill 13 M"l 5' [*7
mazzei ii " ' “ f =
cL'-£:i§g,___ =1§:_:
Francine Humes, et al. ) W.D. if »a"¢, » t
)
P]aintiffs, )
)
vs. ) Civil Action No. 01-02028 DA
)
A.C. Gilless, et al. )
)
Defendants. )
ORDQR §

AMENDED RULE 16 (B) SCHEDULING ORDER

 

The parties have filed a loint Motion to Amend the Rule l6 (B) Seheduling Order. After
review of the Motion, the Court finds that this Motion is proper.
The Scheduling deadlines are amended as follows:
Completing all discovery: October 20, 2005
(a) Document Prodnction _ October 20, 2005
(b) Depositions, hiterrogatories or Request for Admissions m October 20, 2005
(c) Expert Disclosure (Rule 26):
i. Disclosure of Plaintiff’ s Rule 26 Expert Inforrnation -
September 23, 2005
ii. Disclosure of Defendant’s Rule 26 Expert Inforrnation -
October 20, 2005.
The deadline for the filing of Pre-Ti'ial motions including any Motion for Summary

Judgcnent is extended to November 29, 2005. In light of the foregoing amended deadlines, the

l ` ' dance
lms document entered on the docket/sheet |n comp

Wim ama 53 and/or re(a) FHGP on Q'l§ ~Q 5

Case 2:01-cv-02028-BBD-dkv Document 174 Filed 05/18/05 Page 2 of 3 Page|D 186

pre-trial date of October 17, 2005 and the trial date of Monday, November 7, 2005 are hereby
continued to be reset by the Court.

IT IS SO ORDERED.

Ju ge

Date § J

 

ESTERN ISRICT oF TNNESSEE

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 174 in
case 2:0]-CV-02028 Was distributed by faX, mail, or direct printing on
May l8, 2005 to the parties listed.

 

J ames l\/l. Simpson

ALLEN SUl\/[MERS SIMPSON LILLIE & GRESHAM, PLLC

80 l\/lonroe Ave.
Ste. 650
l\/lemphis7 TN 38103--246

Harris Frederick PoWers

ALLEN SCRUGGS SOSSAMAN THOl\/[PSON SIMPSON & LILLIE

80 l\/lonroe Ave.
Ste. 650
l\/lemphis7 TN 38103--246

Jean Markowitz
CAUSEY CAYWOOD
100 North Main St.

Ste. 2400

l\/lemphis7 TN 38103

Brian L. Kuhn

SHELBY COUNTY ATTORNEY'S OFFICE
160 N. Main Street

Ste. 660

l\/lemphis7 TN 38103

Fred E. Jones

CITY ATTORNEY'S OFFICE-Memphis
125 N. Main Street

Ste. 314

l\/lemphis7 TN 38103

Mark A. Allen

PROVOST & Ul\/[PHREY, LLP
200 Jefferson Ave.

Ste. 250

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

